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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  HALOZYME, INC.

                        Plaintiff                 Civil Action No. 1:16-CV-01580 (CMH/JFA)

         v.

  JOSEPH MATAL,
  performing the functions and duties of Under
  Secretary of Commerce for Intellectual
  Property and Director of the United States
  Patent and Trademark Office,

                        Defendant.


                                     NOTICE OF HEARING

        PLEASE TAKE NOTICE that, on November 3, 2017, at 10:00 a.m., or as soon thereafter

 as counsel may be heard, defendant, Joseph Matal, performing the functions and duties of Under

 Secretary of Commerce for Intellectual Property and Director of the United States Patent and

 Trademark Office, through his undersigned counsel, will bring on for hearing his motion in

 limine in the above-captioned action.

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                                           Respectfully submitted,

                                           DANA J. BOENTE
                                           UNITED STATES ATTORNEY

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 DATE: October 27, 2017                    ATTORNEYS FOR DEFENDANT

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
 Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to the
 following:

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 Date: October 27, 2017                        ___/s/___________________________
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